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Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter       7
                                                                                                                          o   Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Sonia Rykiel, Inc.

2.   All other names debtor
     used in the last 8 years
                                  DBA Lola Realty, Inc.
     Include any assumed          FKA Salome Realty, Inc.
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  5 East 57th Street
                                  14th Floor
                                  New York, NY 10022
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  New York                                                        Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  Showroom
                                                                                                  816 Madison Avenue New York, NY 10065
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.soniarykiel.com/en_us/


6.   Type of debtor               n   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                  o   Partnership (excluding LLP)
                                  o   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 1
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Debtor    Sonia Rykiel, Inc.                                                                           Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                       o   Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                       o   Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                       o   Railroad (as defined in 11 U.S.C. § 101(44))
                                       o   Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                       o   Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                       o   Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                       n   None of the above

                                       B. Check all that apply
                                       o Tax-exempt entity (as described in 26 U.S.C. §501)
                                       o Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                       o Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                4812

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                    n   Chapter 7
                                       o   Chapter 9
                                       o   Chapter 11. Check all that apply:
                                                            o    Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                            o    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                            o    A plan is being filed with this petition.
                                                            o    Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                            o    The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                            o    The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                       o   Chapter 12



9.   Were prior bankruptcy             n No.
     cases filed by or against
     the debtor within the last 8      o Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number


10. Are any bankruptcy cases           n No
    pending or being filed by a
    business partner or an             o Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                     Relationship
                                                 District                                 When                              Case number, if known




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Debtor   Sonia Rykiel, Inc.                                                                      Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                n      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                o      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or      n No
    have possession of any
                                           Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal   o Yes.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                           o It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                           o It needs to be physically secured or protected from the weather.
                                           o It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                           o Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                           o No
                                           o Yes.       Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                        o Funds will be available for distribution to unsecured creditors.
                                        n After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of         n 1-49                                          o 1,000-5,000                              o 25,001-50,000
    creditors                                                                   o 5001-10,000                              o 50,001-100,000
                                o 50-99
                                o 100-199                                       o 10,001-25,000                            o More than100,000
                                o 200-999

15. Estimated Assets            o $0 - $50,000                                  n $1,000,001 - $10 million                 o $500,000,001 - $1 billion
                                o $50,001 - $100,000                            o $10,000,001 - $50 million                o $1,000,000,001 - $10 billion
                                o $100,001 - $500,000                           o $50,000,001 - $100 million               o $10,000,000,001 - $50 billion
                                o $500,001 - $1 million                         o $100,000,001 - $500 million              o More than $50 billion

16. Estimated liabilities       o $0 - $50,000                                  o $1,000,001 - $10 million                 o $500,000,001 - $1 billion
                                o $50,001 - $100,000                            n $10,000,001 - $50 million                o $1,000,000,001 - $10 billion
                                o $100,001 - $500,000                           o $50,000,001 - $100 million               o $10,000,000,001 - $50 billion
                                o $500,001 - $1 million                         o $100,000,001 - $500 million              o More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                      page 3
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Debtor    Sonia Rykiel, Inc.                                                                       Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      April 16, 2019
                                                  MM / DD / YYYY


                             X   /s/ Pieter Oosting                                                       Pieter Oosting
                                 Signature of authorized representative of debtor                         Printed name

                                 Title    President




18. Signature of attorney    X   /s/ Kathleen M. Aiello                                                    Date April 16, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Kathleen M. Aiello
                                 Printed name

                                 Fox Rothschild LLP
                                 Firm name

                                 101 Park Avenue
                                 Suite 1700
                                 New York, NY 10178
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (212) 878-7900                Email address      kaiello@foxrothschild.com

                                 772190 NY
                                 Bar number and State




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 Fill in this information to identify the case:

 Debtor name         Sonia Rykiel, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                o   Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                           12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

        n         Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

        n         Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

        n         Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

        n         Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

        n         Schedule H: Codebtors (Official Form 206H)

        n         Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
        o         Amended Schedule
        o         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
        o         Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          April 16, 2019                          X /s/ Pieter Oosting
                                                                       Signature of individual signing on behalf of debtor

                                                                       Pieter Oosting
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name            Sonia Rykiel, Inc.

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                                                                      o    Check if this is an
                                                                                                                                                                                           amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                       12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                      $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                         $        2,412,691.24

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                        $        2,412,691.24


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                      $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                         $            16,796.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                                 +$       11,838,042.54


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                               $         11,854,838.54




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                     page 1
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 Fill in this information to identify the case:

 Debtor name          Sonia Rykiel, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                 o      Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

      o No.   Go to Part 2.
      n Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest
 2.         Cash on hand                                                                                                                              $1,632.00



 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number


            3.1.     Chase Bank                                             Checking                         9021                                       $635.71




            3.2.     HSBC Bank                                              Checking                         2307                                     $5,680.20




            3.3.     Chase Bank (Ex Lola)                                   Checking                         6198                                     $9,159.61




            3.4.     Bank of America (Ex Lola)                              Checking                         0958                                     $5,117.00



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                     $22,224.52
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                                page 1
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 Debtor            Sonia Rykiel, Inc.                                                             Case number (If known)
                   Name


      o No.   Go to Part 3.
      n Yes Fill in the information below.
 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit


            7.1.     Security Deposit for Office Lease (57th Street)                                                                           $42,985.86



 8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
            Description, including name of holder of prepayment


            8.1.     Prepayment                                                                                                               $104,509.00




 9.         Total of Part 2.                                                                                                              $147,494.86
            Add lines 7 through 8. Copy the total to line 81.

 Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

      o No.   Go to Part 4.
      n Yes Fill in the information below.
 11.        Accounts receivable
            11a. 90 days old or less:                           215,348.00   -                                   0.00 = ....                  $215,348.00
                                              face amount                           doubtful or uncollectible accounts




            11b. Over 90 days old:                              218,576.00   -                                  0.00 =....                    $218,576.00
                                              face amount                           doubtful or uncollectible accounts



 12.        Total of Part 3.                                                                                                              $433,924.00
            Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:           Investments
13. Does the debtor own any investments?

      n No.   Go to Part 5.
      o Yes Fill in the information below.

 Part 5:           Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      o No.   Go to Part 6.
      n Yes Fill in the information below.
            General description                       Date of the last           Net book value of         Valuation method used     Current value of
                                                      physical inventory         debtor's interest         for current value         debtor's interest
                                                                                 (Where available)

 19.        Raw materials

 20.        Work in progress


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                        page 2
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 Debtor         Sonia Rykiel, Inc.                                                               Case number (If known)
                Name

 21.       Finished goods, including goods held for resale
           Inventory located at
           Stellae (off site location)                                                  $756,636.00     Purchase Price                      $756,636.00


           Located at Showroom:
           816 Madison Ave
           New York, NY 10065                                                           $466,407.00                                         $466,407.00


           Located at:
           Bloomingdales
           225 Boylston Street, Mall
           Chestnut Hill,
           Massachusetts 02467                                                           $42,794.00                                          $42,794.00


           Located at
           Bloomingdales - 59th
           Street
           1000 Third Avenue
           New York, New York
           10022                                                                         $98,597.00                                          $98,597.00



 22.       Other inventory or supplies
           Freight, Custom and
           Duty in Inventory                                                            $352,016.00     Rolling Average                     $352,016.00




 23.       Total of Part 5.                                                                                                           $1,716,450.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
           n No
           o Yes
 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
           n No
           o Yes. Book value                                         Valuation method                        Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
           n No
           o Yes
 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

    n No.    Go to Part 7.
    o Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    o No.    Go to Part 8.
    n Yes Fill in the information below.
           General description                                                   Net book value of      Valuation method used      Current value of
                                                                                 debtor's interest      for current value          debtor's interest
                                                                                 (Where available)
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 3
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 Debtor         Sonia Rykiel, Inc.                                                            Case number (If known)
                Name



 39.        Office furniture

 40.        Office fixtures
            Mainly concerning Madison Avenue
            Showroom (See Attached Inventory)                                         $92,597.86                                    $92,597.86



 41.        Office equipment, including all computer equipment and
            communication systems equipment and software
            Software                                                                   Unknown                                              $0.00



 42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
            books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
            collections; other collections, memorabilia, or collectibles

 43.        Total of Part 7.                                                                                                       $92,597.86
            Add lines 39 through 42. Copy the total to line 86.

 44.        Is a depreciation schedule available for any of the property listed in Part 7?
            n No
            o Yes
 45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
            n No
            o Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

    n No.    Go to Part 9.
    o Yes Fill in the information below.

 Part 9:        Real property
54. Does the debtor own or lease any real property?

    n No.    Go to Part 10.
    o Yes Fill in the information below.

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

    n No.    Go to Part 11.
    o Yes Fill in the information below.

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

    n No.    Go to Part 12.
    o Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                             page 4
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 Debtor          Sonia Rykiel, Inc.                                                                                  Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                            $22,224.52

 81. Deposits and prepayments. Copy line 9, Part 2.                                                               $147,494.86

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $433,924.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                           $1,716,450.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                          $92,597.86

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                         $2,412,691.24            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $2,412,691.24




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 5
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                                 Inventory of Furniture, Fixtures and Equipment
                                                                                                               Somme de
                                                                               Cumulative                     Cumulative
                                                             Somme de       Depreciation as of Somme de           Dep.     Somme de
                Description               Enabling date    Accounting base      02/28/19       Depreciation   03/31/2019 Net Value
GARLAND CONCEPT WINDOWS SS17                  2/2/2017             2,750.00          2,750.00          0.00       2,750.00      0.00
FIXTURES & FITTINGS                           1/1/2017             3,400.00          3,400.00          0.00       3,400.00      0.00
LAYOUT CAPUSLE COLLECTION WINDOW             3/20/2017             5,662.50          5,662.50          0.00       5,662.50      0.00
LIGHTING FEES                                2/25/2016               746.90            746.90          0.00         746.90      0.00
WIRING PHONE SYSTEM                          2/25/2016             2,250.00          2,250.00          0.00       2,250.00      0.00
ALARM SYSTEM INSTALLATION                    2/25/2016             2,289.09          2,289.09          0.00       2,289.09      0.00
ARCHITECT FEES                               2/25/2016            27,840.00         27,840.00          0.00      27,840.00      0.00
LOCKSMITHING                                 2/29/2016             2,559.65          2,559.65          0.00       2,559.65      0.00
ARCHITECT FEES                               2/25/2016            11,656.05         11,656.05          0.00      11,656.05      0.00
CONSTRUCTION MANAGEMENT FEES                 2/25/2016             3,000.00          3,000.00          0.00       3,000.00      0.00
POWER SUPPLY                                 3/26/2016             4,088.36          4,088.36          0.00       4,088.36      0.00
STORE FRONT                                   9/1/2016             5,813.93          5,813.93          0.00       5,813.93      0.00
SOUND SYSTEM                                 12/1/2016             1,976.08          1,976.08          0.00       1,976.08      0.00
SOUND SYSTEM                                  9/1/2017               728.09            647.64         80.45         728.09      0.00
                                                                  74,760.65         74,680.20         80.45      74,760.65      0.00
SAMSUNG MONITOR                                3/20/2017           4,055.00          4,055.00          0.00       4,055.00      0.00
SAMSUNG 48" MONITOR ON CEILING                 3/20/2017           4,825.00          4,825.00          0.00       4,825.00      0.00
DELL COMPUTER                                  2/25/2016           1,326.07          1,259.64         66.43       1,326.07      0.00
DELL OPTIPLEX 3020 M                           2/25/2016           1,304.30          1,238.97         65.33       1,304.30      0.00
JIFFY PRO-LINE CIAL CLOTHING STEAMER           2/25/2016             664.56            664.56          0.00         664.56      0.00
SAFESCAN TA-8025                               2/25/2016             615.99            615.99          0.00         615.99      0.00
DELL LATITUDE E5550                             4/1/2016             717.49            717.49          0.00         717.49      0.00
                                                                  13,508.41         13,376.65        131.76      13,508.41      0.00
SPANGLES BEADED CURTAIN                         2/2/2017           1,372.11          1,372.11          0.00       1,372.11      0.00
CARPET WALLS                                   3/20/2017           1,325.00          1,325.00          0.00       1,325.00      0.00
MANNEQUINS                                     2/25/2016           4,260.00          4,260.00          0.00       4,260.00      0.00
CORNER FURNITURES                              2/25/2016          37,550.99         37,550.99          0.00      37,550.99      0.00
INTERIOR DESIGN                                2/25/2016        207,399.40        207,399.40           0.00     207,399.40      0.00
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MILLWORK PRODUCTION                            2/25/2016       83,420.03      83,420.03        0.00    83,420.03        0.00
WOODEN & STAINLESS FURNITURES                  2/25/2016       15,829.27      15,829.27        0.00    15,829.27        0.00
WINDOW ELEMENTS                                2/25/2016        7,240.19       7,240.19        0.00     7,240.19        0.00
WINDOW ELEMENTS                                2/25/2016       13,255.53      13,255.53        0.00    13,255.53        0.00
CARPET                                         2/25/2016       13,513.59      13,513.59        0.00    13,513.59        0.00
CARPET LAYING                                  2/25/2016        2,069.15       2,069.15        0.00     2,069.15        0.00
POLISHED STAINLESS STELL SUPPORT               2/25/2016        1,120.41       1,120.41        0.00     1,120.41        0.00
2 MANNEQUINS                                   2/25/2016        3,383.00       3,383.00        0.00     3,383.00        0.00
SWIVEL POD CHAIRS-A PAIR                       2/25/2016        1,224.00       1,224.00        0.00     1,224.00        0.00
SOFA                                           2/25/2016        4,600.00       4,600.00        0.00     4,600.00        0.00
UNIVERSAL SHELVING SYSTEM                      2/25/2016        3,965.24       3,965.24        0.00     3,965.24        0.00
TABLES HAVING A "C"                            2/25/2016        4,899.38       4,899.38        0.00     4,899.38        0.00
SOFA & ARMCHAIRS                               2/25/2016        9,602.04       9,602.04        0.00     9,602.04        0.00
BOOKS                                          2/25/2016        3,050.28       3,050.28        0.00     3,050.28        0.00
CHAIRS & FURNITURE LEGS                        2/25/2016        1,127.11       1,127.11        0.00     1,127.11        0.00
BOOKS                                          2/25/2016        2,248.61       2,248.61        0.00     2,248.61        0.00
MANNEQUINS RED GLOSS                           2/25/2016        8,550.00       8,550.00        0.00     8,550.00        0.00
MANNEQUINS RED GLOSS                           2/25/2016        1,400.00       1,400.00        0.00     1,400.00        0.00
FABRIC WRAP & DISCO BALLS                     11/13/2016        5,240.00       2,236.31      258.41     2,494.72    2,745.28
IPAD FOR MADISON                               6/30/2017          574.86         173.24       28.35       201.59      373.27
CARPET                                        12/31/2018        6,251.28          11.42    1,027.61     1,039.03    5,212.25
MADISON CARPET                                 12/1/2018        8,560.00         484.68    1,407.13     1,891.81    6,668.19
MADISON FURNITURE                              1/31/2019          425.66           0.00       46.65        46.65      379.01
                                                              453,457.13     435,310.98    2,768.15   438,079.13   15,378.00
                                                              541,726.19     523,367.83    2,980.36   526,348.19   15,378.00
DESIGN FEES                                    4/10/2015       12,248.44       9,134.32      604.03     9,738.35    2,510.09
ARCHITECT FEES-PLANS                           4/10/2015        3,164.48       2,359.93      156.06     2,515.99      648.49
                                                               15,412.92      11,494.25      760.09    12,254.34    3,158.58
DELL                                           4/10/2015        2,532.09       2,532.09        0.00     2,532.09        0.00
                                                                2,532.09       2,532.09        0.00     2,532.09        0.00
MANNEQUINS                                     4/10/2015        8,101.53       6,041.76      399.53     6,441.29    1,660.24
HIGH WALL PANELS                               4/10/2015        1,419.43       1,058.56       70.00     1,128.56      290.87
CASH DESK                                      4/10/2015        8,511.16       6,347.22      419.73     6,766.95    1,744.21
WALL PANELS                                    4/10/2015        9,057.36       6,754.55      446.66     7,201.21    1,856.15
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BEARINGS                                       4/10/2015        5,086.90       3,793.57       250.86     4,044.43    1,042.47
LOGO                                           4/10/2015          912.09         680.20        44.98       725.18      186.91
DESK ACCESSORIES                               4/10/2015        3,013.35       2,247.22       148.60     2,395.82      617.53
CASH DESK                                      4/10/2015        5,957.43       4,442.79       293.79     4,736.58    1,220.85
CORNER SR CHESNUT HILL                         4/10/2015       28,227.81      21,050.98     1,392.06    22,443.04    5,784.77
CASHWRAP                                       8/24/2016        3,070.63       1,446.39       151.43     1,597.82    1,472.81
                                                               73,357.69      53,863.24     3,617.64    57,480.88   15,876.81
                                                               91,302.70      67,889.58     4,377.73    72,267.31   19,035.39
LIC. RETAIL PRO                                 1/1/2005        5,547.62       5,547.62         0.00     5,547.62        0.00
                                                                5,547.62       5,547.62         0.00     5,547.62        0.00
ARCHITECT FEES                                  8/3/2014        9,567.40       8,445.52       471.82     8,917.34      650.06
CONSULTING SERVICES                             8/3/2014       25,000.00      22,068.49     1,232.88    23,301.37    1,698.63
ARCHITECTURAL SERVICES                          8/3/2014       36,000.00      31,778.63     1,775.34    33,553.97    2,446.03
FEES FOR FIRE ALARM DRAWING                     8/3/2014       10,200.00       9,003.95       503.01     9,506.96      693.04
FEES - ASBESTOS ASSESST & ISSUANCE ACP-5        8/3/2014        2,000.00       1,765.48        98.63     1,864.11      135.89
DESIGN FEES                                     8/3/2014       50,305.54      44,406.71     2,480.82    46,887.53    3,418.01
ALTERATION WORK                                 8/3/2014      400,657.00     353,675.85    19,758.43   373,434.28   27,222.72
CONSTRUCTION ADM.SERVICES                       8/3/2014       12,000.00      10,592.88       591.78    11,184.66      815.34
SPECIAL INSPECTION SPRINKLER SYSTEMS            8/3/2014        1,200.00       1,059.29        59.18     1,118.47       81.53
FLOOR GRAPHICS                                 10/4/2016        2,912.41       1,306.60       143.63     1,450.23    1,462.18
LIGHTING DESIGN                                 3/1/2019        4,507.32           0.00        25.52        25.52    4,481.80
                                                              554,349.67     484,103.40    27,141.04   511,244.44   43,105.23
LAPTOP LATITUDE 15 WIN.7                        8/3/2014        1,126.86       1,126.86         0.00     1,126.86        0.00
RACK TAB FOOT PLATE & SERVICES                 1/16/2015        1,513.49       1,513.49         0.00     1,513.49        0.00
COMPUTER                                       9/30/2017        1,228.10         513.67       100.94       614.61      613.49
PRINTER                                        6/30/2018          413.71          41.94        20.40        62.34      351.37
                                                                4,282.16       3,195.96       121.34     3,317.30      964.86
FURNITURES                                      8/3/2014      103,462.98      91,330.90     5,102.28    96,433.18    7,029.80
MANNEQUINS                                      8/3/2014        5,818.31       5,136.05       286.93     5,422.98      395.33
FITTING ROOM STOOL AND BENCH                    8/3/2014        3,422.20       3,020.91       168.77     3,189.68      232.52
CARPET                                          8/3/2014        4,442.10       3,921.22       219.06     4,140.28      301.82
ARMCHAIR                                        8/3/2014        6,871.96       6,066.14       338.90     6,405.04      466.92
STORAGE DOOR & CABINET MODIFICATION           10/23/2015        6,553.45       4,183.44       323.18     4,506.62    2,046.83
SHOP SIGN                                     11/23/2015        3,416.80       2,123.10       168.50     2,291.60    1,125.20
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STORAGE DOOR & CABINET MODIFICATION          3/7/2016        3,256.18       1,836.28       160.58     1,996.86    1,259.32
FURNITURE                                   9/20/2016        6,695.81       3,055.19       330.20     3,385.39    3,310.42
                                                           143,939.79     120,673.23     7,098.40   127,771.63   16,168.16
                                                           708,119.24     613,520.21    34,360.78   647,880.99   60,238.25
COMPUTER                                   11/30/2017        1,130.11         409.73        92.88       502.61      627.50
COMPUTER                                    1/31/2018        1,632.04         499.30       134.14       633.44      998.60
                                                             2,762.15         909.03       227.02     1,136.05    1,626.10
                                                             2,762.15         909.03       227.02     1,136.05    1,626.10
VARIOUS                                      1/7/1989      152,211.00     150,617.32       392.96   151,010.28    1,200.72
GLASS DOOR                                   3/1/1989        6,100.00       5,847.16        48.52     5,895.68      204.32
WATER KENUL                                12/31/1991          400.00         350.60         3.18       353.78       46.22
WATER KENUL                                 1/31/1992          400.00         350.60         3.18       353.78       46.22
FIRE HOUSE                                  5/31/1994          400.00         319.60         3.18       322.78       77.22
D.KRUGER                                    5/31/1994          750.00         590.80         5.97       596.77      153.23
LEASEHOLD IMPROVEMENTS                     10/29/1999        1,220.00         594.00         7.52       601.52      618.48
LEASEHOLD IMPROVEMENTS                       2/3/1999        2,225.00       1,127.48        13.71     1,141.19    1,083.81
LEASEHOLD IMPROVEMENTS                      2/11/1999        3,000.00       1,529.76        18.97     1,548.73    1,451.27
LEASEHOLD IMPROVEMENTS                      2/11/1999        2,225.00       1,134.59        14.07     1,148.66    1,076.34
LEASEHOLD IMPROVEMENTS                       4/6/1999        4,580.00       2,307.72        28.96     2,336.68    2,243.32
LEASEHOLD IMPROVEMENTS                      8/18/1999        2,615.00       1,298.93        16.53     1,315.46    1,299.54
CARPETING                                   6/29/2006       20,391.00      20,391.00         0.00    20,391.00        0.00
SHOWROOM                                     8/1/2006       42,900.00      42,900.00         0.00    42,900.00        0.00
SHOWROOM                                    6/12/2007        9,075.00       9,075.00         0.00     9,075.00        0.00
SHOWROOM                                    9/12/2008        5,788.00       5,788.00         0.00     5,788.00        0.00
AIR CONDITIONING                            7/30/2009       30,900.00      19,059.00       507.95    19,566.95   11,333.05
LEASEHOLD IMPROVEMENTS                     11/19/2012        2,050.00         827.71        33.92       861.63    1,188.37
LEASEHOLD IMPROVEMENTS                      11/1/2012        5,650.00       2,285.40        93.90     2,379.30    3,270.70
LEASEHOLD IMPROVEMENTS                       6/1/2013        4,848.00       1,805.49        79.69     1,885.18    2,962.82
SHOWROOM/ELEVATOR HALL                     11/13/2014        4,497.00       1,236.20        73.92     1,310.12    3,186.88
GLASS MIRRORS                              12/15/2014        1,688.00         464.12        27.75       491.87    1,196.13
LEASEHOLD IMPROVEMENT                       12/1/2017       63,281.12       4,577.04     1,040.24     5,617.28   57,663.84
                                                           367,194.12     274,477.52     2,414.12   276,891.64   90,302.48
DIGITAL CAMERA                              2/10/2003          669.00         669.00         0.00       669.00        0.00
SHELVES                                     3/13/2003          642.00         642.00         0.00       642.00        0.00
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VPN                                         5/30/2009          695.00          695.00        0.00       695.00         0.00
COOLING/AC                                  4/27/2005          978.00          978.00        0.00       978.00         0.00
COMPUTER                                    4/21/2006        9,927.00        9,927.00        0.00     9,927.00         0.00
TELEPHONE                                   4/28/2006          762.00          762.00        0.00       762.00         0.00
FLAT PANEL                                  1/26/2007        2,036.00        2,036.00        0.00     2,036.00         0.00
COMPUTER                                    4/30/2008        9,582.00        9,582.00        0.00     9,582.00         0.00
MANNEQUINS                                  9/16/2010        6,678.00        6,678.00        0.00     6,678.00         0.00
COMPUTER                                    3/30/2011        1,126.00        1,126.00        0.00     1,126.00         0.00
COMPUTER                                   10/28/2011        1,178.00        1,178.00        0.00     1,178.00         0.00
COMPUTER NEW ADDITION                       9/26/2013        1,216.00        1,216.00        0.00     1,216.00         0.00
COMPUTER NEW ADDITION                      12/31/2013          882.00          882.00        0.00       882.00         0.00
DESKTOP                                     4/28/2014          897.00          897.00        0.00       897.00         0.00
DELL OPTIPLEX 9020                         11/19/2014        1,039.00        1,039.00        0.00     1,039.00         0.00
LAP TOP                                      1/1/2016        1,392.48        1,392.48        0.00     1,392.48         0.00
                                                            39,699.48       39,699.48        0.00    39,699.48         0.00
DESK                                       12/15/1999        2,226.00        2,226.00        0.00     2,226.00         0.00
CHAIR                                      12/31/1999        1,682.00        1,682.00        0.00     1,682.00         0.00
LIGHT FIXTURE                               6/21/2002        4,600.00        4,600.00        0.00     4,600.00         0.00
TABLE                                       2/10/2003          465.00          465.00        0.00       465.00         0.00
CABINETS                                    3/12/2003        1,079.00        1,079.00        0.00     1,079.00         0.00
QWEST                                       3/25/2013          617.00          617.00        0.00       617.00         0.00
REFRIGERATOR                                9/28/2005          502.00          502.00        0.00       502.00         0.00
MACY'S BOUTIQUE                             11/1/2006        3,166.00        3,166.00        0.00     3,166.00         0.00
TABLE                                       6/12/2008        5,264.00        5,264.00        0.00     5,264.00         0.00
ROLLING ROCK                                 7/1/2010        4,230.00        4,230.00        0.00     4,230.00         0.00
OFFICE MAX-TUL MFTC200                      4/28/2014          958.00          894.40       48.92       943.32        14.68
CARTE DESK CARBON-CB2                       4/29/2014        1,298.00        1,211.40       66.05     1,277.45        20.55
TPS CABINET CARBON-CB2                      4/29/2014        1,385.00        1,293.00       70.17     1,363.17        21.83
FURNITURE                                  11/26/2010        3,926.00        3,926.00        0.00     3,926.00         0.00
5 LAMINATE TABLES                            1/5/2016        5,374.38        3,212.89      265.04     3,477.93     1,896.45
FRIDGE                                      9/30/2017          488.59          122.62       24.10       146.72       341.87
                                                            37,260.97       34,491.31      474.28    34,965.59     2,295.38
                                                           444,154.57      348,668.31    2,888.40 351,556.71      92,597.86
                                                         1,788,064.85    1,554,354.96   44,834.29 1,599,189.25   188,875.60
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4111000 Wholesale Customers - Accounts Receivable
                                                                                                                                     Balance from 01/01/2019 to
Account   Description                      Address                          Address               ZIP Code   City            Country     31/12/2019 : Debit
C100001   FINALE                           254 CEDARBRIDGE AVE                                    NJ 08701   LAKEWOOD        USA                       $5,720.00
C90031-   INTERMIX                         1440 BROADWAY                    5TH FLOOR             NY 10018   NEW YORK        USA                       $1,960.00
C90104-   GOLD'S TRIMMING                  4710-13 AVENUE                                         NY 11219   BROOKLYN        USA                      -$1,516.00
C90114-   MACY'S                           FEDERAL LOGISTICS                2101 E. KEMPER ROAD   OH 45241   CINCINNATI      USA                      $22,644.00
                                                                            CHARLTON GATE
C90136-   NET-A-PORTER LLC                 DC1 UNIT1 - ACCOUNTS PAYABLE     BUSINESS PARK         SE7 7RU    LONDON          UK                      -$25,639.56
C90161-   SAKS 5TH AVENUE                  PO BOX 20040                                           MS 39289   JACKSON         USA                     -$40,521.78
C90199-   JOAN SHEPP                       1811 CHESNUT STREET                                    PA 19103   PHILADELPHIA    USA                       $8,824.00
C90267-   SHOPBOP.COM - BOP LLC            1245 EAST WASHINGTON AVENUE      SUITE 300             WI 53703   MADISON         USA                      $56,725.45
C90281-   STANLEY KORSHAK                  500 CRESCENT COURT               SUITE 100             TX 75201   DALLAS          USA                      $10,152.00
C90299-   SHARIS PLACE                     44 GLEN COVE ROAD                                      NY 11548   GREENVALE       USA                      $22,084.00
C90302-   A LINE BOUTIQUE LLC              2000 S. ACOMA ST                                       CO 80223   DENVER          USA                       $3,376.00
C90324-   ESTI'S WORLD OF FASHION INC      104 A. RT. 59                                          NY 10952   MONSEY          USA                      $11,404.00
C90336-   BLAKE                            212 W CHICAGO AVE                DOMINIC MARCHESCHI    IL 60654   CHICAGO         USA                       $2,656.00
                                                                            ATTN : CHELSEA
C90341-   THE WEBSTER                      1220 COLLINS AVENUE              COLOMBO               FL 33139   MIAMI           USA                      $15,484.00
C90348-   CAPITOL                          4010 SHARON ROAD                                       NC 28211   CHARLOTTE       USA                       $4,148.00
C90353-   JUST ONE EYE                     7000 ROMANIE ST.                 SUITE 206             CA 90038   LOS ANGELES     USA                      $18,896.00
C90365-   ZAPPOS                           400 E STEWART AVENUE                                   NV 89101   LAS VEGAS       USA                      $27,016.00
C90367-   MERCI                            8730 COUNTRYSIDE PLAZA           SUITE 1               NE 68114   OMAHA           USA                       $3,604.00
C90369-   ALLORA BY LAURA                  1269 COAST VILLAGE ROAD                                CA 93108   SANTA BARBARA   USA                       $1,520.00
C90372-   BARNEYS INC                      ACCOUNTS PAYABLE                 PO BOX 422            NJ 07071   LYNDHURST       USA                       $5,887.72
C90392-   DEJE INC, DBA JIMMY'S            360 AVENUE U                                           NY 11223   BROOKLYN        USA                      $17,524.00
C90393-   MARIS COLLECTIVE                 1507 7TH #88                                           CA 90401   SANTA MONICA    USA                      $13,344.00
                                                                            NEIMAN MARCUS
C90394-   BERGDORF GOODMAN                 1201 ELM STREET 20TH FLOOR       ACCOUNTS PAYABLE      TX 75270   DALLAS          USA                       $4,412.00
C90395-   HOWARD HUGHES CORPORATION        ONE SEAPORT PLAZA                199 WATER STREET      NY 10038   NEW YORK        USA                       $1,348.00
C90399-   A'MAREES                         2241 WESTCOAST HIGHWAY                                 CA 92663   NEWPORT BEACH   USA                       $8,508.00
C90401-   THE CONSERVATORY                 25 HIGHLAND PARK VILLAGE         SUITE 100-320         TX 75205   DALLAS          USA                       $7,128.00
C93023-   BLOOMINGDALE'S FEDERATED         FEDERAL LOGISTICS A/P            2101 E. KEMPER ROAD   OH 45241   CINCINNATI      USA                      $13,200.00
C93920-   MODA OPERANDI                    315 HUDSON STREET                FLOOR 5               NY 10013   NEW YORK        USA                      -$2,980.85
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C98441-   CENTURY 21 DEPT STORES        ACCOUNT PAYABLE DEPT          22 CORTLANDT STREET   NY 10007 NEW YORK           USA   $135,003.75
C98445-   THE OUTNET.COM                ACCOUNT PAYABLE DEPT          30-30 47TH AVENUE     NY 11101 LONG ISLAND CITY   USA    $67,634.00
C999999   CUSTOMER SUSPENSE                                                                                                    -$5,088.06
4111000   Balance Wholesale Customers                                                                                          414,456.67
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4110000   Retail Customers - Accounts Receivable
Account   Description                     Balance from 01/01/2019 to 31/12/2019
C00007-   CUSTOMERS-PETTY CASH                                                   3,388.23
C00009-   A/R VISA, MASTER CARD...                                                -488.86
C003---   CUSTOMER-GIFT CERTIFICATE                                               -372.19
C999999   CUSTOMER SUSPENSE                                                     10,389.66

4110000 Balance Retail Customers                                               12,916.84
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 Fill in this information to identify the case:

 Debtor name         Sonia Rykiel, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                           o    Check if this is an
                                                                                                                                amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                       12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

     n No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
     o Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                     page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Sonia Rykiel, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                                         o   Check if this is an
                                                                                                                                                             amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                            12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          o No. Go to Part 2.
          n Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                              Total claim            Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                  $16,796.00          $16,796.00
           The NYS Commissioner                                      Check all that apply.
           of Tax and Finance                                        o Contingent
           Building 9 W.A. Harriman Cam                              o Unliquidated
           Albany, NY 12227                                          o Disputed
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                       n No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                     o Yes


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $103,000.00
           11 E 68 Units A&B                                                       o Contingent
           P.O. Box 4914                                                           o Unliquidated
           New York, NY 10185                                                      o Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number      S352
                                                                                   Is the claim subject to offset?     n No o Yes
 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                             $0.00
           American Express                                                        o Contingent
           P.O. Box 804247                                                         o Unliquidated
           Chicago, IL 60680-4104                                                  o Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number      2009
                                                                                   Is the claim subject to offset?     n No o Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                               page 1 of 9
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 Debtor       Sonia Rykiel, Inc.                                                                      Case number (if known)
              Name

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,173.00
          Amtrust North America                                              o Contingent
          P.O. Box 6939                                                      o Unliquidated
          Cleveland, OH 44101-1940                                           o Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   n No o Yes
 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,434.31
          Botechnology, LLC                                                  o Contingent
          404 5th Avenue                                                     o Unliquidated
          3rd Floor                                                          o Disputed
          New York, NY 10018
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Con Edison                                                         o Contingent
          Cooper Station                                                     o Unliquidated
          P.O. Box 138                                                       o Disputed
          New York, NY 10276-0318
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,230.48
          Deborah A. Nilson & Associates                                     o Contingent
          10 East 40th St                                                    o Unliquidated
          Suite 3310                                                         o Disputed
          New York, NY 10016
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $29,155.42
          Duell Family II                                                    o Contingent
          5 East 57th Street                                                 o Unliquidated
          New York, NY 10022                                                 o Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   n No o Yes
 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,767.00
          Elmo Data Supply Inc.                                              o Contingent
          P.O. Box 691885                                                    o Unliquidated
          West Hollywood, CA 90069                                           o Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   n No o Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $315.82
          Federal Express                                                    o Contingent
          P.O. Box 371461                                                    o Unliquidated
          Pittsburgh, PA 15250-7461                                          o Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   n No o Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 2 of 9
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 Debtor       Sonia Rykiel, Inc.                                                                      Case number (if known)
              Name

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $7,965.00
          Fenton Model Management                                            o Contingent
          207 East 63rd Street                                               o Unliquidated
          New York, NY 10018                                                 o Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   n No o Yes
 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $150.00
          Francheska Zaide                                                   o Contingent
          458 62nd Street                                                    o Unliquidated
          Long Island City, NY 11120                                         o Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   n No o Yes
 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $8.50
          Hallak Cleaners                                                    o Contingent
          1232 Second Avenue                                                 o Unliquidated
          New York, NY 10065                                                 o Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   n No o Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $190.40
          Hanover Insurance Group                                            o Contingent
          P.O. Box 580045                                                    o Unliquidated
          Charlotte, NC 28258-0046                                           o Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   n No o Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Hanover Insurance Group                                            o Contingent
          440 Lincoln Street                                                 o Unliquidated
          Worcester, MA 01653-0002                                           o Disputed
          Date(s) debt was incurred 12/10/2018
                                                                             Basis for the claim:
          Last 4 digits of account number 7903
                                                                             Is the claim subject to offset?   n No o Yes
 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,295.50
          IBSDirect                                                          o Contingent
          36-06 43rd Ave                                                     o Unliquidated
          2nd Floor                                                          o Disputed
          Long Island City, NY 11101
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Intertrade                                                         o Contingent
          c/o T65036U                                                        o Unliquidated
          P.O. Box 5811                                                      o Disputed
          Boston, MA 02205-5811
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 3 of 9
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 Debtor       Sonia Rykiel, Inc.                                                                      Case number (if known)
              Name

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,450.00
          Kazmercyl Melanie                                                  o Contingent
          239 E 14th Street 2R                                               o Unliquidated
          New York, NY 10003                                                 o Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   n No o Yes
 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $500.00
          Kezie Walla                                                        o Contingent
          75 Ralph Avenue Apt 3A                                             o Unliquidated
          Brooklyn, NY 11221                                                 o Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   n No o Yes
 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $600.00
          Lineweight Consultants, Inc.                                       o Contingent
          275 Webster Ave                                                    o Unliquidated
          Apt 4h                                                             o Disputed
          Brooklyn, NY 11230
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $805.68
          Liverpool Carting Co. Inc.                                         o Contingent
          5 Bruckner Blvd                                                    o Unliquidated
          Bronx, NY 10454                                                    o Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   n No o Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $5,200.00
          Mazars, LLP                                                        o Contingent
          135 West 50th Street                                               o Unliquidated
          New York, NY 10020                                                 o Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   n No o Yes
 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $81.66
          Metropolitan Locksmith Inc.                                        o Contingent
          165 7th Ave South                                                  o Unliquidated
          New York, NY 10014                                                 o Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   n No o Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $189.00
          National Registered Agents                                         o Contingent
          1660 Walt Whitman Road #140                                        o Unliquidated
          Melville, NY 11747                                                 o Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   n No o Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 4 of 9
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 Debtor       Sonia Rykiel, Inc.                                                                      Case number (if known)
              Name

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $195.98
          Opentext/GXS                                                       o Contingent
          9177 Washingtonian Blvd                                            o Unliquidated
          Suite 700                                                          o Disputed
          Gaithersburg, MD 20878
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,271.61
          Orsman Design                                                      o Contingent
          Lighting Refined                                                   o Unliquidated
          88 Mariner Drive, Suite 3                                          o Disputed
          Southampton, NY 11968
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $279.45
          Poilane                                                            o Contingent
          8 Rue Du Cherche-Midi                                              o Unliquidated
          Paris France 75006                                                 o Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   n No o Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $7,965.00
          PTL Events                                                         o Contingent
          315 W 36th St                                                      o Unliquidated
          New York, NY 10018                                                 o Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   n No o Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Ready Refresh by Nestle                                            o Contingent
          #215 6661 Dixie Hwy                                                o Unliquidated
          Suite 4                                                            o Disputed
          Louisville, KY 40258
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $708.00
          Robert Clergerie America, Inc.                                     o Contingent
          Rue Pierre Curie                                                   o Unliquidated
          BP 69                                                              o Disputed
          Roman Sur Isere France
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $114.00
          Simone Studio NY, LLC                                              o Contingent
          216 White Plains Road                                              o Unliquidated
          Tuckahoe, NY 10707                                                 o Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   n No o Yes




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 Debtor       Sonia Rykiel, Inc.                                                                      Case number (if known)
              Name

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $10,700,959.93
          Sonia Rykiel CDM                                                   o Contingent
          175 Boulevard Saint Germain                                        o Unliquidated
          75006 Paris France                                                 o Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Inventory Supplied - Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   n No o Yes
 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $898,900.75
          Sonia Rykiel CDM                                                   o Contingent
          175 Boulevard Saint Germain                                        o Unliquidated
          Paris, France                                                      o Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Loan from Parent Company
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   n No o Yes
 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $409.92
          Spectrum Business TWC                                              o Contingent
          4145 S Falkenburg Rd                                               o Unliquidated
          Riverview, FL 33578                                                o Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   n No o Yes
 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $46,211.96
          Stellae International, Inc.                                        o Contingent
          50 Marcus Drive                                                    o Unliquidated
          Melville, NY 11747                                                 o Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   n No o Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $4,507.32
          Studio Amort Walter                                                o Contingent
          Via Vintler 1/B                                                    o Unliquidated
          Bressanone, Italy 39042                                            o Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   n No o Yes
 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1.00
          Tactical Electric Inc.                                             o Contingent
          138 W 25th St                                                      o Unliquidated
          10th Floor                                                         o Disputed
          New York, NY 10001
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $568.35
          Terminix                                                           o Contingent
          P.O. Box 742592                                                    o Unliquidated
          Cincinnati, OH 45274                                               o Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   n No o Yes




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 Debtor       Sonia Rykiel, Inc.                                                                      Case number (if known)
              Name

 3.38      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $800.85
           The Hartford                                                      o Contingent
           P.O. Box 783690                                                   o Unliquidated
           Philadelphia, PA 19178-3690                                       o Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?   n No o Yes
 3.39      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $3,400.00
           Tomasz Const. Corp.                                               o Contingent
           193 Kent Street                                                   o Unliquidated
           Brooklyn, NY 11222                                                o Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?   n No o Yes
 3.40      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $3,812.44
           Travelers                                                         o Contingent
           Hickey and Hickey Inc.                                            o Unliquidated
           P.O. Box 200                                                      o Disputed
           Bedford, NY 10506-0200
                                                                             Basis for the claim:
           Date(s) debt was incurred 12/10/2018
           Last 4 digits of account number 842G                              Is the claim subject to offset?   n No o Yes
 3.41      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $4,513.45
           USPS Supply Chain Solutions In                                    o Contingent
           28013 Network Place                                               o Unliquidated
           Chicago, IL 60673-1280                                            o Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?   n No o Yes
 3.42      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $182.74
           Verizon                                                           o Contingent
           PO Box 4833                                                       o Unliquidated
           Trenton, NJ 08650-4833                                            o Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?   n No o Yes
 3.43      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $1,728.02
           Worldnet Intl                                                     o Contingent
           147-40 184th St                                                   o Unliquidated
           Springfield Gardens, NY 11413                                     o Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?   n No o Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                                      related creditor (if any) listed?            account number, if
                                                                                                                                                   any
 4.1       City of New York Law Dept.
           Assistant Corporate Counsel                                                                Line     2.1
           100 Church Street, Room 5-223
           New York, NY 10007-2668                                                                    o      Not listed. Explain



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 Debtor       Sonia Rykiel, Inc.                                                                  Case number (if known)
              Name

           Name and mailing address                                                              On which line in Part1 or Part 2 is the   Last 4 digits of
                                                                                                 related creditor (if any) listed?         account number, if
                                                                                                                                           any
 4.2       Commissioner of Taxation and F
           AR Receivables                                                                        Line   2.1
           PO Box 4137
           Binghamton, NY 13902-4137                                                             o      Not listed. Explain


 4.3       Department of Treasury
           Internal Revenue Service                                                              Line   2.1
           P.O. Box 7346
           Philadelphia, PA 19101-7346                                                           o      Not listed. Explain


 4.4       Morstan General Agency
           P.O. Box 4500                                                                         Line   3.14                               7903
           Manhasset, NY 11030
                                                                                                 o      Not listed. Explain

 4.5       New York City Dept. of Finance
           Taxpayer Identification Unit                                                          Line   2.1
           25 Elm Place, 3rd Floor
           Brooklyn, NY 11201-5355                                                               o      Not listed. Explain


 4.6       NYC Department fo Finance
           PO Box 5100                                                                           Line   2.1
           Kingston, NY 12402-5100
                                                                                                 o      Not listed. Explain

 4.7       NYS AR Levy Receivables
           PO Box 4137                                                                           Line   2.1
           Binghamton 13902-4137
                                                                                                 o      Not listed. Explain

 4.8       NYS Corporation Tax
           NYS Estimated Corporatio Tax                                                          Line   2.1
           PO Box 22109
           Albany, NY 12201-2109                                                                 o      Not listed. Explain


 4.9       NYS Dept of Tax & Finance
           Bankruptcy Section                                                                    Line   2.1
           PO Box 5300
           Albany, NY 12205-0300                                                                 o      Not listed. Explain


 4.10      State of NY Dept of Labor
           Unemployment Insurance Div.                                                           Line   2.1
           Gov. W. Averall Harrison State
           Albany, NY 12240-0001                                                                 o      Not listed. Explain


 4.11      The NYS Commissioner
           of Tax and Finance                                                                    Line   2.1
           Building 9 W.A. Harriman Cam
           Albany, NY 12227                                                                      o      Not listed. Explain


 4.12      Travelers
           One Tower Square                                                                      Line   3.40                               842G
           Hartford, CT 06183
                                                                                                 o      Not listed. Explain

 4.13      U.S. Attorney's Office S.D.N.Y
           Attn: Tax & Bankruptcy Unit                                                           Line   2.1
           86 Chambers Street, Third Floo
           New York, NY 10007-1825                                                               o      Not listed. Explain



 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 8 of 9
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 Debtor       Sonia Rykiel, Inc.                                                                  Case number (if known)
              Name

                                                                                                                  Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.       $                    16,796.00
 5b. Total claims from Part 2                                                                       5b.   +   $                11,838,042.54

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.       $                   11,854,838.54




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 9 of 9
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 Fill in this information to identify the case:

 Debtor name         Sonia Rykiel, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                             o   Check if this is an
                                                                                                                                 amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
      o No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
      n Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.1.        State what the contract or                   NYC Madison Store
             lease is for and the nature of               lease
             the debtor's interest

                  State the term remaining                21 months
                                                                                       11 E 68 Unit AB Owners LLC
             List the contract number of any                                           546 5th Avenue
                   government contract                                                 Albany, NY 12204


 2.2.        State what the contract or                   Equipment Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       Avaya Financial
             List the contract number of any                                           4655 Great America Parkway
                   government contract                                                 Santa Clara, CA 95054-1233


 2.3.        State what the contract or                   License Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                             Bloomingdale's Inc.
                                                                                       Attn: Chief Financial Officer
             List the contract number of any                                           1000 Third AVenue
                   government contract                                                 New York, NY 10022


 2.4.        State what the contract or                   License contract (shop
             lease is for and the nature of               in shop) -
             the debtor's interest                        Bloomingdales New
                                                          York - 59th Street and
                                                          Bloomingdales,
                                                          Chestnut Hill,
                                                          Massachusetts
                  State the term remaining                1 year
                                                                                       Bloomingdales Inc.
             List the contract number of any                                           1000 3rd Ave
                   government contract                                                 New York, NY 10022


Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                           Page 1 of 3
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 Debtor 1 Sonia Rykiel, Inc.                                                                 Case number (if known)
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease


 2.5.        State what the contract or                   Sublessor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           British Heritage Brands, Inc.
                                                                                     c/o Capital Mgmt - Attn: CEO
             List the contract number of any                                         725 Fifth Avenue, 23rd Floor
                   government contract                                               New York, NY 10022


 2.6.        State what the contract or                   Sublessor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           British Heritage Brands, Inc.
                                                                                     Attn Mr. Adrian Ramos
             List the contract number of any                                         725 Fifth Avenue, 23rd Floor
                   government contract                                               New York, NY 10022


 2.7.        State what the contract or
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           Debora A. Nilson & Associates
                                                                                     Attn: Deborah A. Nilson Esq.
             List the contract number of any                                         10 East 40th St, Suite 3310
                   government contract                                               New York, NY 10016


 2.8.        State what the contract or                   NYC Office lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                63 months
                                                                                     Duel, LLC, NYC US
             List the contract number of any                                         5 E 57th Street #10
                   government contract                                               New York, NY 10022


 2.9.        State what the contract or                   License Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           Macys
                                                                                     attn: General counsel
             List the contract number of any                                         7 West 7th St
                   government contract                                               Cincinnati, OH 45202


 2.10.       State what the contract or                   Landlord was changed
             lease is for and the nature of               to 11 E 68 Unit AB
             the debtor's interest                        Owner LLC, but also        Myron Altschuler, Esq.
                                                          noticing above             Borah Goldstein et al.
                  State the term remaining                                           377 Broadway, 6th Fl
                                                                                     New York, NY 10013
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                    Page 2 of 3
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 Debtor 1 Sonia Rykiel, Inc.                                                                 Case number (if known)
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

             List the contract number of any
                   government contract


 2.11.       State what the contract or
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           Pryor Cashman LLP
                                                                                     Attn Brad D. Rose Esq.
             List the contract number of any                                         7 Times Square
                   government contract                                               New York, NY 10036


 2.12.       State what the contract or
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Ricoh USA
             List the contract number of any                                         45 Liberty Blvd.
                   government contract                                               Parkesburg, PA 19365


 2.13.       State what the contract or                   Licenses
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Sonia Rykiel
             List the contract number of any                                         11, rue dugay trouin
                   government contract                                               75006 Paris France


 2.14.       State what the contract or                   Sublessee
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           Sonia Rykiel Inc.
                                                                                     Attn: Nathan Levy, Manag. Dir.
             List the contract number of any                                         5 East 57th St, 14th Floor
                   government contract                                               New York, NY 10022




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                    Page 3 of 3
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 Fill in this information to identify the case:

 Debtor name         Sonia Rykiel, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                          o    Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

 n No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
 o Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                           Check all schedules
                                                                                                                                that apply:
    2.1                                                                                                                        oD
                                               Street                                                                          o E/F
                                                                                                                               oG
                                               City                  State      Zip Code


    2.2                                                                                                                        oD
                                               Street                                                                          o E/F
                                                                                                                               oG
                                               City                  State      Zip Code


    2.3                                                                                                                        oD
                                               Street                                                                          o E/F
                                                                                                                               oG
                                               City                  State      Zip Code


    2.4                                                                                                                        oD
                                               Street                                                                          o E/F
                                                                                                                               oG
                                               City                  State      Zip Code




Official Form 206H                                                           Schedule H: Your Codebtors                                      Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Sonia Rykiel, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                       o   Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

      o None.
       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                   n Operating a business                                 $405,477.00
       From 1/01/2019 to Filing Date
                                                                                               o Other


       For prior year:                                                                         n Operating a business                               $4,245,823.00
       From 1/01/2018 to 12/31/2018
                                                                                               o Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      n None.
                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      o None.
       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               See Attached Schedule of Transfers                                                          $779,411.45         o Secured debt
                                                                                                                               o Unsecured loan repayments
                                                                                                                               o Suppliers or vendors
                                                                                                                               o Services
                                                                                                                               o Other


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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 Debtor      Sonia Rykiel, Inc.                                                                         Case number (if known)



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

      n None.
       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

      n None
       Creditor's name and address                              Describe of the Property                                       Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

      n None
       Creditor's name and address                              Description of the action creditor took                        Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

      n None.
               Case title                                       Nature of case             Court or agency's name and                 Status of case
               Case number                                                                 address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

      n None

 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

      n None
               Recipient's name and address                     Description of the gifts or contributions                Dates given                              Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

      n None



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 Debtor      Sonia Rykiel, Inc.                                                                            Case number (if known)



       Description of the property lost and                     Amount of payments received for the loss                   Dates of loss           Value of property
       how the loss occurred                                                                                                                                    lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

      n None.
                Who was paid or who received                         If not money, describe any property transferred           Dates                Total amount or
                the transfer?                                                                                                                                value
                Address

12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

      n None.
       Name of trust or device                                       Describe any property transferred                  Dates transfers             Total amount or
                                                                                                                        were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

      n None.
               Who received transfer?                           Description of property transferred or                     Date transfer            Total amount or
               Address                                          payments received or debts paid in exchange                was made                          value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


      n Does not apply
                Address                                                                                                     Dates of occupancy
                                                                                                                            From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

      n     No. Go to Part 9.
      o     Yes. Fill in the information below.


                Facility name and address                       Nature of the business operation, including type of services               If debtor provides meals
                                                                the debtor provides                                                        and housing, number of
                                                                                                                                           patients in debtor’s care

 Part 9:      Personally Identifiable Information

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 Debtor      Sonia Rykiel, Inc.                                                                         Case number (if known)




16. Does the debtor collect and retain personally identifiable information of customers?

      n     No.
      o     Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

      n     No. Go to Part 10.
      o     Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

      n None
                Financial Institution name and                  Last 4 digits of          Type of account or          Date account was           Last balance
                Address                                         account number            instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


      n None
       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


      o None
       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
       STELLAE                                                       Stephane Raymond                     Finished goods in storage or         o No
       50 Marcus Drive                                                                                    warehouse.                           n Yes
       Melville, NY 11747

       Public Storage                                                Stephane Raymond                                                          o No
       41-02 Northern Blvd                                                                                                                     n Yes
       Unit 1044
       Long Island City, NY 11101



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

    n None

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 Debtor      Sonia Rykiel, Inc.                                                                         Case number (if known)



 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

      n     No.
      o     Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

      n     No.
      o     Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

      n     No.
      o     Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

      n None
    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
         o None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       MAZARS USA LLP                                                                                                             April 2017 - Present
                    135 West 50th Street
                    New York, NY 10020

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

          o None

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 Debtor      Sonia Rykiel, Inc.                                                                         Case number (if known)



       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26b.1.       MAZARS USA LLP                                                                                                       April 2017 - Present
                    135 W. 50th Street
                    New York, NY 10020

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

          n None
       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

          n None
       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

      n     No
      o     Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Sonia Rykiel CDM                               175 Boulevard Saint Germain                         Sonia Rykiel Creation et              100%
                                                      Paris France                                        Diffusion de Modeles (C.D.M.)
                                                                                                          S.A. -Sole Shareholder
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Pieter Oosting                                 175 Boulevard Saint Germain                         President and Treasurer               0%
                                                      Paris France

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Stephane Raymond                               175 Boulevard Saint Germain                         Vice President                        0%
                                                      Paris, FR

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Deborah A. Nilson                              10 East 40th Street                                 Secretary                             0%
                                                      Suite 3310
                                                      New York, NY 10016


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


      o     No
      n     Yes. Identify below.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 6
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 Debtor      Sonia Rykiel, Inc.                                                                         Case number (if known)



       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Eric Langon                                    175 Boulevard Saint Gremain                         Former President                 September 1, 2012
                                                      Paris, France                                                                        to July 18, 2018


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

      n     No
      o     Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of              Dates             Reason for
                                                                property                                                                   providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

      n     No
      o     Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

      n     No
      o     Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         April 16, 2019

 /s/ Pieter Oosting                                                     Pieter Oosting
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
o No
n Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7
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                       Schedule of Payments Made in 90 Days
   Date                 Description                 Currency    Payments
1/16/2019      BANKCARD RETAIL 01/15/2019             USD         $76.21
1/16/2019         COMMUTER PAYMENT                    USD        $898.00
1/16/2019            OXFORD PAYMENT                   USD       $6,784.01
1/16/2019     PMT PAYROLL EXPES 01.16.2019            USD       $42,681.05
1/18/2019      BANKCARD RETAIL 1/17/2019              USD        $493.20
1/22/2019        READY REFRESH PAYMENT                USD         $55.97
1/22/2019          CONEDISON PAYMENT                  USD        $432.40
1/25/2019     MONTHLY SHORTFALL FEE 01.19             USD        $114.57
1/25/2019       AVAYA FINANCIAL PAYMENT               USD        $456.82
1/25/2019      BANKCARD RETAIL 1/24/2019              USD       $1,055.00
1/28/2019         MICROSOFT PAYMENTS                  USD        $252.06
1/28/2019          CONEDISON PAYMENT                  USD       $1,041.31
1/29/2019           AMEX PMT 01.2019                  USD       $50,460.34
1/30/2019            VERIZON PAYMENT                  USD        $239.56
1/30/2019     PMT PAYROLL EXPES 01.30.2019            USD       $37,493.00
1/31/2019       GLOBAL CAPACITY PAYMENT               USD        $328.53
1/31/2019             DEPOSIT CHECK                   USD      $103,000.00
 2/4/2019    CC FEES FOR WHOLESALES CLIENTS           USD         $8.20
 2/4/2019            VERIZON PAYMENT                  USD        $429.43
 2/4/2019      CC FEES FOR MADISON STORE              USD       $2,117.87
 2/4/2019             DEPOSIT CHECK                   USD       $5,000.00
 2/4/2019             DEPOSIT CHECKS                  USD       $56,807.02
 2/5/2019             DEPOSIT CHECK                   USD        $381.91
 2/5/2019    CC FEES FOR WHOLESALES CLIENT            USD        $516.66
 2/7/2019      BANKCARD RETIAL 02/06/2019             USD        $544.38
 2/8/2019      BANKCARD RETAIL 02/07/2019             USD       $1,077.86
2/12/2019        READY REFRESH PAYMENT                USD        $153.29
2/12/2019          SPECTRUM PAYMENT                   USD        $214.94
2/12/2019           TRAVELER PAYMENT                  USD       $1,906.22
2/12/2019             DEPOSTI CHECK                   USD       $14,577.71
2/13/2019     PMT PAYROLL EXPES 02.13.2019            USD       $43,204.17
2/14/2019          SPECTRUM PAYMENT                   USD        $189.98
2/14/2019             DEPOSIT CHECK                   USD        $500.00
2/14/2019         KEZIE WALLA PAYMENT                 USD        $750.00
2/14/2019         RICOH LEASE PAYMENT                 USD       $2,418.29
2/15/2019          GUARDIAN PAYMENT                   USD        $675.71
2/15/2019         COMMUTER PAYMENT                    USD        $898.00
2/20/2019        READY REFRESH PAYMENT                USD         $80.98
2/20/2019             DEPOSIT CHECK                   USD        $400.00
2/20/2019             DEPOSIT CHECK                   USD       $2,075.00
2/20/2019         BROADVIEW PAYMENT                   USD       $2,784.65
2/21/2019       GLOBAL CAPACITY PAYMENT               USD        $328.53
2/21/2019             DEPOSIT CHECK                   USD       $2,200.00
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2/25/2019        MICROSOFT EXPES 02.2019         USD            $252.06
2/25/2019             AVAYA PAYMENTS             USD            $456.82
2/25/2019      BARNEYS BOUNCED BACK CHECK        USD           $60,692.20
2/26/2019         BALANCE SHORTFALL FEE          USD            $126.64
2/26/2019     AMEX PMT 02.2019 - VERA & AIDA     USD           $4,561.60
2/27/2019           CONEDISON PAYMENT            USD           $1,287.96
2/27/2019       BANKCARD RETAIL 02/26/2019       USD           $4,235.24
2/27/2019      PMT PAYROLL EXPES 02.27.2019      USD           $36,381.16
2/28/2019               DEPOSIT CHECK            USD           $1,208.60
 3/1/2019              DEPOSIT CHECKS            USD          $136,749.33
 3/4/2019           WHOLESALES CC FEES           USD             $8.30
 3/4/2019               DEPOSIT CHECK            USD            $105.00
 3/4/2019             VERIZON PAYMENT            USD            $292.77
 3/4/2019         MADISON STORE CC FEES          USD           $1,341.68
 3/4/2019       BANKCARD RETAIL 03.03.2019       USD           $1,785.55
 3/4/2019             OXFORD PAYMENT             USD           $7,495.31
 3/5/2019           WHOLESALES CC FEES           USD            $455.85
 3/6/2019             VERIZON PAYMENT            USD            $423.29
 3/6/2019               DEPOSTI CHECK            USD           $1,178.00
3/12/2019         READY REFRESH PAYMENT          USD             $86.45
3/12/2019           SPECTRUM PAYMENT             USD            $214.94
3/12/2019            TRAVELER PAYMENT            USD           $1,906.22
3/13/2019      PMT PAYROLL EXPES 03.13.2019      USD           $38,621.19
3/14/2019           SPECTRUM PAYMENT             USD            $194.98
3/15/2019    2019 ADVANCE TAX PAYMENT - NYS      USD            $481.00
3/15/2019          BROADVIEW PAYMENT             USD            $591.97
3/15/2019           GUARDIAN PAYMENT             USD            $675.71
3/15/2019       COMMUTER CHECK PAYMENT           USD            $898.00
3/15/2019               DEPOSIT CHECK            USD           $4,975.00
3/18/2019    2019 ADVANCE TAX PAYMENT - NYC      USD            $375.00
3/19/2019         READY REFRESH PAYMENT          USD             $85.33
3/19/2019             2019 Q1 SALES TAX          USD           $16,056.16
3/22/2019           CONEDISON PAYMENT            USD            $278.87
3/25/2019   BANK BALANCE SHORTFALL FEE 03.2019   USD            $152.71
3/25/2019              AVAYA PAYMENT             USD            $456.82
3/25/2019               DEPOSIT CHECK            USD           $1,180.00
3/26/2019      PMT PAYROLL EXPES 03.26.2019      USD           $35,352.74
3/27/2019        MICROSOFT EXPES 03.2019         USD             $21.78
3/27/2019        MICROSOFT EXPES 03.2019         USD             $95.27
3/27/2019        MICROSOFT EXPES 03.2019         USD            $135.01
3/27/2019               DGA PAYMENT              USD            $220.21
3/27/2019               DGA PAYMENT              USD            $499.86
3/27/2019               DEPOSIT CHECK            USD           $11,231.71
3/28/2019           CONEDISON PAYMENT            USD            $726.49
3/29/2019       BANKCARD RETAIL 03.28.2019       USD            $740.00
 4/1/2019             VERIZON PAYMENT            USD            $238.99
 4/2/2019            WHOLESALES CC FEE           USD             $8.20
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4/2/2019           GLOBAL CAPACITY PAYMENT         USD            $328.53
4/2/2019               OXFORD PAYMENT              USD            $873.63
4/2/2019             MADISON STORE CC FEE          USD           $1,976.38
4/2/2019                DEPOSIT CHECK              USD           $6,000.00
4/2/2019               OXFORD PAYMENT              USD           $7,495.31
4/3/2019          BANKCARD RETAIL 04.02.2019       USD             $15.00
4/3/2019               VERIZON PAYMENT             USD            $303.56
4/3/2019              WHOLESALES CC FEES           USD            $778.24

                            Total                               $779,411.45
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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Southern District of New York
 In re       Sonia Rykiel, Inc.                                                                                Case No.
                                                                                   Debtor(s)                   Chapter      7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                  $                30,000.00
              Prior to the filing of this statement I have received                                        $                30,000.00
              Balance Due                                                                                  $                       0.00

2.     $     335.00       of the filing fee has been paid.

3.     The source of the compensation paid to me was:

              o Debtor             n      Other (specify):           Sonia Rykiel CDM

4.     The source of compensation to be paid to me is:

              o Debtor             n      Other (specify):

5.       n   I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

         o I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.    [Other provisions as needed]


7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation in any dischargeability actions, adversary proceedings, contested matters, motions for relief from
               automatic stay actions, motions to avoid judicial liens or similar matters, non-routine matters, or any other
               unusual, unexpected or extraordinary work.
                                                                            CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     April 16, 2019                                                               /s/ Kathleen M. Aiello
     Date                                                                         Kathleen M. Aiello
                                                                                  Signature of Attorney
                                                                                  Fox Rothschild LLP
                                                                                  101 Park Avenue
                                                                                  Suite 1700
                                                                                  New York, NY 10178
                                                                                  (212) 878-7900 Fax: (212) 692-0940
                                                                                  kaiello@foxrothschild.com
                                                                                  Name of law firm




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                                                               United States Bankruptcy Court
                                                                     Southern District of New York
 In re      Sonia Rykiel, Inc.                                                                       Case No.
                                                                                   Debtor(s)         Chapter     7




                                               VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       April 16, 2019                                             /s/ Pieter Oosting
                                                                        Pieter Oosting/President
                                                                        Signer/Title




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                           11 E 68 UNIT AB OWNERS LLC
                           546 5TH AVENUE
                           ALBANY, NY 12204


                           11 E 68 UNITS A&B
                           P.O. BOX 4914
                           NEW YORK, NY 10185


                           AMERICAN EXPRESS
                           P.O. BOX 804247
                           CHICAGO, IL 60680-4104


                           AMTRUST NORTH AMERICA
                           P.O. BOX 6939
                           CLEVELAND, OH 44101-1940


                           AVAYA FINANCIAL
                           4655 GREAT AMERICA PARKWAY
                           SANTA CLARA, CA 95054-1233


                           BLOOMINGDALE'S INC.
                           ATTN: CHIEF FINANCIAL OFFICER
                           1000 THIRD AVENUE
                           NEW YORK, NY 10022


                           BLOOMINGDALES INC.
                           1000 3RD AVE
                           NEW YORK, NY 10022


                           BOTECHNOLOGY, LLC
                           404 5TH AVENUE
                           3RD FLOOR
                           NEW YORK, NY 10018


                           BRITISH HERITAGE BRANDS, INC.
                           C/O CAPITAL MGMT - ATTN: CEO
                           725 FIFTH AVENUE, 23RD FLOOR
                           NEW YORK, NY 10022


                           BRITISH HERITAGE BRANDS, INC.
                           ATTN MR. ADRIAN RAMOS
                           725 FIFTH AVENUE, 23RD FLOOR
                           NEW YORK, NY 10022
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                       CITY OF NEW YORK LAW DEPT.
                       ASSISTANT CORPORATE COUNSEL
                       100 CHURCH STREET, ROOM 5-223
                       NEW YORK, NY 10007-2668


                       COMMISSIONER OF TAXATION AND F
                       AR RECEIVABLES
                       PO BOX 4137
                       BINGHAMTON, NY 13902-4137


                       CON EDISON
                       COOPER STATION
                       P.O. BOX 138
                       NEW YORK, NY 10276-0318


                       DEBORA A. NILSON & ASSOCIATES
                       ATTN: DEBORAH A. NILSON ESQ.
                       10 EAST 40TH ST, SUITE 3310
                       NEW YORK, NY 10016


                       DEBORAH A. NILSON & ASSOCIATES
                       10 EAST 40TH ST
                       SUITE 3310
                       NEW YORK, NY 10016


                       DEPARTMENT OF TREASURY
                       INTERNAL REVENUE SERVICE
                       P.O. BOX 7346
                       PHILADELPHIA, PA 19101-7346


                       DUEL, LLC, NYC US
                       5 E 57TH STREET #10
                       NEW YORK, NY 10022


                       DUELL FAMILY II
                       5 EAST 57TH STREET
                       NEW YORK, NY 10022


                       ELMO DATA SUPPLY INC.
                       P.O. BOX 691885
                       WEST HOLLYWOOD, CA 90069


                       FEDERAL EXPRESS
                       P.O. BOX 371461
                       PITTSBURGH, PA 15250-7461
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                       FENTON MODEL MANAGEMENT
                       207 EAST 63RD STREET
                       NEW YORK, NY 10018


                       FRANCHESKA ZAIDE
                       458 62ND STREET
                       LONG ISLAND CITY, NY 11120


                       HALLAK CLEANERS
                       1232 SECOND AVENUE
                       NEW YORK, NY 10065


                       HANOVER INSURANCE GROUP
                       P.O. BOX 580045
                       CHARLOTTE, NC 28258-0046


                       HANOVER INSURANCE GROUP
                       440 LINCOLN STREET
                       WORCESTER, MA 01653-0002


                       IBSDIRECT
                       36-06 43RD AVE
                       2ND FLOOR
                       LONG ISLAND CITY, NY 11101


                       INTERTRADE
                       C/O T65036U
                       P.O. BOX 5811
                       BOSTON, MA 02205-5811


                       KAZMERCYL MELANIE
                       239 E 14TH STREET 2R
                       NEW YORK, NY 10003


                       KEZIE WALLA
                       75 RALPH AVENUE APT 3A
                       BROOKLYN, NY 11221


                       LINEWEIGHT CONSULTANTS, INC.
                       275 WEBSTER AVE
                       APT 4H
                       BROOKLYN, NY 11230
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                       LIVERPOOL CARTING CO. INC.
                       5 BRUCKNER BLVD
                       BRONX, NY 10454


                       MACYS
                       ATTN: GENERAL COUNSEL
                       7 WEST 7TH ST
                       CINCINNATI, OH 45202


                       MAZARS, LLP
                       135 WEST 50TH STREET
                       NEW YORK, NY 10020


                       METROPOLITAN LOCKSMITH INC.
                       165 7TH AVE SOUTH
                       NEW YORK, NY 10014


                       MORSTAN GENERAL AGENCY
                       P.O. BOX 4500
                       MANHASSET, NY 11030


                       MYRON ALTSCHULER, ESQ.
                       BORAH GOLDSTEIN ET AL.
                       377 BROADWAY, 6TH FL
                       NEW YORK, NY 10013


                       NATIONAL REGISTERED AGENTS
                       1660 WALT WHITMAN ROAD #140
                       MELVILLE, NY 11747


                       NEW YORK CITY DEPT. OF FINANCE
                       TAXPAYER IDENTIFICATION UNIT
                       25 ELM PLACE, 3RD FLOOR
                       BROOKLYN, NY 11201-5355


                       NYC DEPARTMENT FO FINANCE
                       PO BOX 5100
                       KINGSTON, NY 12402-5100


                       NYS AR LEVY RECEIVABLES
                       PO BOX 4137
                       BINGHAMTON 13902-4137
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                       NYS CORPORATION TAX
                       NYS ESTIMATED CORPORATIO TAX
                       PO BOX 22109
                       ALBANY, NY 12201-2109


                       NYS DEPT OF TAX & FINANCE
                       BANKRUPTCY SECTION
                       PO BOX 5300
                       ALBANY, NY 12205-0300


                       OPENTEXT/GXS
                       9177 WASHINGTONIAN BLVD
                       SUITE 700
                       GAITHERSBURG, MD 20878


                       ORSMAN DESIGN
                       LIGHTING REFINED
                       88 MARINER DRIVE, SUITE 3
                       SOUTHAMPTON, NY 11968


                       POILANE
                       8 RUE DU CHERCHE-MIDI
                       PARIS FRANCE 75006


                       PRYOR CASHMAN LLP
                       ATTN BRAD D. ROSE ESQ.
                       7 TIMES SQUARE
                       NEW YORK, NY 10036


                       PTL EVENTS
                       315 W 36TH ST
                       NEW YORK, NY 10018


                       READY REFRESH BY NESTLE
                       #215 6661 DIXIE HWY
                       SUITE 4
                       LOUISVILLE, KY 40258


                       RICOH USA
                       45 LIBERTY BLVD.
                       PARKESBURG, PA 19365


                       ROBERT CLERGERIE AMERICA, INC.
                       RUE PIERRE CURIE
                       BP 69
                       ROMAN SUR ISERE FRANCE
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                       SIMONE STUDIO NY, LLC
                       216 WHITE PLAINS ROAD
                       TUCKAHOE, NY 10707


                       SONIA RYKIEL
                       11, RUE DUGAY TROUIN
                       75006 PARIS FRANCE


                       SONIA RYKIEL CDM
                       175 BOULEVARD SAINT GERMAIN
                       75006 PARIS FRANCE


                       SONIA RYKIEL CDM
                       175 BOULEVARD SAINT GERMAIN
                       PARIS, FRANCE


                       SONIA RYKIEL INC.
                       ATTN: NATHAN LEVY, MANAG. DIR.
                       5 EAST 57TH ST, 14TH FLOOR
                       NEW YORK, NY 10022


                       SPECTRUM BUSINESS TWC
                       4145 S FALKENBURG RD
                       RIVERVIEW, FL 33578


                       STATE OF NY DEPT OF LABOR
                       UNEMPLOYMENT INSURANCE DIV.
                       GOV. W. AVERALL HARRISON STATE
                       ALBANY, NY 12240-0001


                       STELLAE INTERNATIONAL, INC.
                       50 MARCUS DRIVE
                       MELVILLE, NY 11747


                       STUDIO AMORT WALTER
                       VIA VINTLER 1/B
                       BRESSANONE, ITALY 39042


                       TACTICAL ELECTRIC INC.
                       138 W 25TH ST
                       10TH FLOOR
                       NEW YORK, NY 10001
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                       TERMINIX
                       P.O. BOX 742592
                       CINCINNATI, OH 45274


                       THE HARTFORD
                       P.O. BOX 783690
                       PHILADELPHIA, PA 19178-3690


                       THE NYS COMMISSIONER
                       OF TAX AND FINANCE
                       BUILDING 9 W.A. HARRIMAN CAM
                       ALBANY, NY 12227


                       TOMASZ CONST. CORP.
                       193 KENT STREET
                       BROOKLYN, NY 11222


                       TRAVELERS
                       HICKEY AND HICKEY INC.
                       P.O. BOX 200
                       BEDFORD, NY 10506-0200


                       TRAVELERS
                       ONE TOWER SQUARE
                       HARTFORD, CT 06183


                       U.S. ATTORNEY'S OFFICE S.D.N.Y
                       ATTN: TAX & BANKRUPTCY UNIT
                       86 CHAMBERS STREET, THIRD FLOO
                       NEW YORK, NY 10007-1825


                       USPS SUPPLY CHAIN SOLUTIONS IN
                       28013 NETWORK PLACE
                       CHICAGO, IL 60673-1280


                       VERIZON
                       PO BOX 4833
                       TRENTON, NJ 08650-4833


                       WORLDNET INTL
                       147-40 184TH ST
                       SPRINGFIELD GARDENS, NY 11413
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                                                               United States Bankruptcy Court
                                                                     Southern District of New York
 In re      Sonia Rykiel, Inc.                                                                            Case No.
                                                                                   Debtor(s)              Chapter     7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Sonia Rykiel, Inc. in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



n None [Check if applicable]




 April 16, 2019                                                       /s/ Kathleen M. Aiello
 Date                                                                 Kathleen M. Aiello
                                                                      Signature of Attorney or Litigant
                                                                      Counsel for Sonia Rykiel, Inc.
                                                                      Fox Rothschild LLP
                                                                      101 Park Avenue
                                                                      Suite 1700
                                                                      New York, NY 10178
                                                                      (212) 878-7900 Fax:(212) 692-0940
                                                                      kaiello@foxrothschild.com




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